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                              IN THE UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION




     GOLDEN BETHUNE-HILL, et al.,
                                                           Civil Action No. 3:14-cv-00852-REP-
                           Plaintiffs,                     AWA-BMK
                     v.

     VIRGINIA STATE BOARD OF ELECTIONS,
     et al.,

                           Defendants,

                      v.

     VIRGINIA HOUSE OF DELEGATES, et al.,

                           Intervenor-Defendants.



        PLAINTIFFS’ SECOND MOTION FOR ATTORNEYS’ FEES AND LITIGATION
                                  EXPENSES

             PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 54, Plaintiffs move for an award

    of attorneys’ fees and reasonable litigation expenses. 42 U.S.C. § 1988 and 52 U.S.C. § 10310(e)

    allow the prevailing party in a voting-rights action under § 1983 to recover attorneys’ fees and

    reasonable litigation expenses, including expert fees. Plaintiffs sought declaratory and injunctive

    relief under § 1983 for the Defendants’ violation of the U.S. Constitution. The Court awarded

    Plaintiffs this relief in its Memorandum Opinion and Order of June 26, 2018 (ECF Nos. 234, 235).

    Following a phase of litigation over the implementation of a remedial map, the Court adopted a

    remedial House of Delegates plan drawn by a Special Master, which was used in the 2019 primary

    elections (ECF Nos. 361, 362).




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             The Supreme Court subsequently dismissed Defendant-Intervenors’ appeal of this Court’s

    decisions as to both the merits of Plaintiffs’ claims and the Court’s order adopting a remedial plan.

    On July 19, 2019, the Supreme Court issued a mandate entering judgement in this matter.

    Consequently, Plaintiffs respectfully request an award of their attorneys’ fees and reasonable

    litigation expenses.



     DATED: August 2, 2019
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                                      CERTIFICATE OF SERVICE
             I hereby certify that on the 2nd day of August, 2019, I filed the foregoing with the Clerk

    of Court using the CM/ECF system, which will then send a notification of such filing to the

    counsel of record in this case.



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